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                                                                           u.sr            .:•
                                                                               •   •    ....




                IN THE
                      THE
                            UNITED   STATES
                              SOUTHERN DISTRICT
                                               DISTRICT
                                                    OF
                                                             COURT
                                                         GEORGIA
                                                                     FOR
                                                                           H1*DEC29 PH |:57
                                STATESBORO     DIVISION
                                                                       "LliRK.
UNITED    STATES      OF AMERICA
                                                                               SO. DIST. OF GA

v.                                                    CASE   NO.    CR607-031


WESLEY BERNARD AIKENS,


        Defendant.




                                       ORDER


        Before the        Court is Defendant Wesley Bernard Aikens's

Motion    to Reconsider.            (Doc.   894.)   In the motion,             Defendant

asks    the    Court     to    reconsider     its   earlier      order     (Doc.          893)

denying       his     Motion     for    Early    Termination         of    Supervised

Release       (Doc.    892).    After   careful     consideration,             the       Court

finds    no reason to disturb its prior order.                        Defendant has

not    performed         his    supervision      in an outstanding                     fashion

such     that       it      would    merit      early     termination              of          his

supervised          release.      Accordingly,       Defendant's          Motion               for

Reconsideration is DENIED.


        SO ORDERED this 2J~ day of December 2014.


                                             WILLIAM T.      MOORE,
                                             UNITED     STATES     DISTRICT            COURT
                                              SOUTHERN DISTRICT           OF   GEORGIA
